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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MASSACHUSETTS


PLAZA DELI, INC. d/b/a                                   )      CIVIL ACTION NO.
PLAZA CATERING and DISCOVERY CAFE,                       )      1:20-cv-11241
      Plaintiff,                                         )
                                                         )
v.                                                       )
                                                         )
NAUTILUS INSURANCE COMPANY,                              )
      Defendant.                                         )

                            COMPLAINT AND DEMAND FOR JURY TRIAL

                                                PARTIES

     1. Plaintiff, Plaza Deli, Inc. d/b/a Plaza Catering and Discovery Cafe (“Plaza” or “plaintiff”), is
        a Massachusetts corporation with a principal place of business at 157 Sixth Street,
        Cambridge, Middlesex County, Commonwealth of Massachusetts.

     2. Defendant, Nautilus Insurance Company (“Nautilus” or “defendant”), is an insurance
        company incorporated in Arizona with a principal place of business at 7233 East Butherus
        Drive, Scottsdale, Arizona.

                                      JURISDICTION AND VENUE

     3. Jurisdiction is proper because under 28 U.S.C. § 1332 the amount in controversy exceeds
        $75,000.00 and the matter in controversy is between citizens of different states.

     4. Venue is proper because under 28 U.S.C. § 1391 a substantial part of the events or
        omissions giving rise to the claim occurred in the District of Massachusetts and a
        substantial part of property that is the subject of the action is situated in the District of
        Massachusetts.

                                                 FACTS

     5. The plaintiff owns and operates five cafés/restaurants and a catering business in and
        around the Cambridge area. Under normal circumstances, plaintiff’s locations are open
        for business Monday-Friday, 4:00 a.m. – 4:00 p.m. and primarily serve breakfast and
        lunch to working professionals in commercial areas. Since March 23, 2020, and

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    continuing, plaintiff has seen its business halted completely as a result of the risk of
    COVID-19 infection. Currently, no location is able to operate normally, resulting in total
    lost revenues of approximately $250,000.00 per month. Almost all of plaintiff’s
    expenses, including rent, utilities, and insurance premiums, have remained essentially
    unchanged. Plaintiff also purchased certain amounts of food prior to COVID-19 that it
    has not been able to use or sell elsewhere. These business losses are expected to
    continue into the foreseeable future.

6. On or around March 6, 2020, defendant issued to plaintiff a Commercial Property
   insurance policy, Policy Number NC494855 (“the Policy”). The Policy period was March
   6, 2020 to March 6, 2021. The full policy is attached hereto as Exhibit 1 and incorporated
   herein by reference.

7. The Policy is a straightforward contract: plaintiff agreed to pay monthly premiums to
   defendant in exchange for defendant’s promise of insurance coverage for certain losses.

8. The Policy is an all-risk insurance policy. In an all-risk insurance policy, all risks of loss are
   covered unless they are specifically excluded. Consistent with the all-risk nature of the
   Policy, defendant specifically agreed to pay for all losses caused by “Covered Causes
   of Loss,” defined as “RISKS OF DIREC T PHYSICAL LOSS” unless the loss is excluded or
   limited in the Policy. In the Policy, defendant also promised to pay for losses of business
   income sustained as a result of perils not excluded under the Policy. In particular,
   defendant promised to pay for losses of business income sustained as a result of a
   “suspension” of business “operations” during the “period of restoration.”

9. Among other types of coverage, the Policy protects plaintiff against a loss of business
   income due to a “suspension” of the business’s “operations” due to “direct physical
   loss of or damage to” property at the premises of the plaintiff’s business. This type of
   coverage is often referred to as business interruption coverage. Pursuant to this section
   of the Policy, Defendants promised to pay for “the actual loss of business income you
   sustain due to the necessary suspension of your ‘operations’ during the ‘period of
   restoration’ … caused by direct physical loss of or physical damage to property at the
   ‘scheduled premises.’”

10. The Policy also provides “Extra Expense” coverage, under which defendant promised to
    pay expenses incurred that would not have been incurred absent the physical loss of or
    physical damage to property at the premises of the business. Pursuant to this section of
    the Policy, Defendants promised to pay for “reasonable and necessary Extra Expense
    you incur during the ‘period of restoration’ that you would not have incurred if there had
    been no direct physical loss or physical damage to property at the ‘scheduled premises.’”



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    11. The Policy also provides coverage for “Extended Business Income.” Specifically,
        Defendants promised to pay for the actual loss of Business Income incurred during the
        period that (a) Begins on the date property is actually repaired, rebuilt or replaced and
        “operations” are resumed; and (b) Ends on the earlier of: (i) The date you could restore
        your “operations” with reasonable speed, to the condition that would have existed if
        no direct physical loss or damage occurred; or (ii) 30 consecutive days after the date
        determined in (1)(a) above.

    12. Additionally, the Policy provides “Civil Authority” coverage, under which defendant
        promised to pay for loss of business income sustained when the action of a civil authority
        prohibits access to the business premises. The Policy also provides “Civil Authority”
        coverage for “the actual loss of Business Income you sustain when access to your
        ‘scheduled premises’ is specifically prohibited by order of a civil authority as the direct
        result of a Covered Cause of Loss to property in the immediate area of your ‘scheduled
        premises’.” This coverage begins “72 hours after the order of a civil authority and
        coverage will end at the earlier of: (a) When access is permitted to your ‘scheduled
        premises’; or (b) 30 consecutive days after the order of the civil authority.” This Civil
        Authority provision is an independent basis for business interruption coverage. That is, it
        can be triggered even when the standard business interruption coverage is not.

    13. The Policy does not contain any exclusion that would apply to allow defendant to deny
        coverage for losses caused by the interruption of plaintiff’s business and the actions of
        civil authorities.

    14. Accordingly, because the Policy is an all-risk policy and does not specifically exclude the
        losses that plaintiff has suffered, those losses are covered.

    15. At all relevant times, plaintiff duly complied with its obligations under the Policy, and paid
        the requisite premiums.

    16. COVID-19 is a deadly communicable disease that has already infected over 1.6 million
        people in the United States and caused more than 100,000 deaths.1 There is currently no
        vaccine for COVID-19.

    17. On March 11, 2020, The World Health Organization (“WHO”) declared the COVID-19
        outbreak a pandemic.

1See https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html (last viewed
May 28, 2020).


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    18. The incubation period for COVID-19—the time between exposure (becoming infected)
        and symptom onset—can be up to 14 days.2

    19. During this period (also known as the “pre-symptomatic” period), infected persons can
        be contagious and disease transmission can occur before the infected person shows any
        symptoms or has any reason to believe they are infected.3

    20. Not only is COVID-19 spread by human-to-human transfer, but the WHO has confirmed
        that COVID-19 can exist on contaminated objects or surfaces.4

    21. According to a study documented in The New England Journal of Medicine, COVID-19 was
        detectable in aerosols for up to three hours, up to four hours on copper, up to 24 hours
        on cardboard, and up to three days on plastic and stainless steel.5




2 See https://www.who.int/docs/default-source/coronaviruse/situation-reports/20200402-
sitrep-73-covid19.pdf?sfvrsn=5ae25bc7_2 (last viewed May 4, 2020).

3 See https://www.who.int/docs/default-source/coronaviruse/situation-reports/20200402-
sitrep-73-covid19.pdf?sfvrsn=5ae25bc7_2 (“In a small number of case reports and studies, pre-
symptomatic transmission has been documented through contact tracing efforts and enhanced
investigation of clusters of confirmed cases. This is supported by data suggesting that some
people can test positive for COVID-19 from 1-3 days before they develop symptoms. Thus, it is
possible that people infected with COVID-19 could transmit the virus before significant
symptoms develop.”) (last viewed May 4, 2020).

4 See https://www.who.int/news-room/commentaries/detail/modes-of-transmission-of-virus-
causing-covid-19- implications-for-ipc-precaution-recommendations (“[T]ransmission of the
COVID-19 virus can occur by direct contact with infected people and indirect contact with
surfaces in the immediate environment or with objects used on the infected person”) (last
viewed May 4, 2020).

5 See https://www.nih.gov/news-events/news-releases/new-coronavirus-stable-hours-surfaces
(last viewed May 4, 2020); see also https://www.who.int/news-
room/commentaries/detail/modes-of-transmission-of-viruscausing-covid-19-implications-for-
ipc-precaution-recommendations (last viewed May 4, 2020).


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      22. The study’s results suggest that individuals could become infected with COVID-19 through
          indirect contact with surfaces or objects used by an infected person, whether they were
          symptomatic or not.6

      23. Shortly after the WHO declared COVID-19 a pandemic, civil authorities around the
          country began issuing “stay at home” and “shelter in place” orders, including the
          Commonwealth of Massachusetts.

      24. The Commonwealth’s responses to COVID-19 have been widely publicized. On March 10,
          2020, Governor Baker declared a state of emergency in Massachusetts due to the
          outbreak of COVID-19. On March 15, 2020, Governor Baker prohibited gatherings of 25
          or more throughout the Commonwealth, and on March 23, 2020 this was reduced to
          gathering of 10 or more. That same day, Governor Baker announced a stay-at-home
          advisory and ordered all non-essential businesses closed. All restaurants, bars, and other
          establishments offering food and drink were ordered to cease all on-premises
          consumption of food and alcohol. On May 18, 2020, Governor Baker announced a Three-
          Stage Reopening Plan. As of that date, according to the Reopening Plan published by the
          Baker Administration, there were more than 86,000 confirmed cases of COVID-19 in
          Massachusetts and at least 5,700 deaths from COVID-19. To date, bars and restaurants
          remain prohibited from operating at their pre-pandemic capacity and may only operate
          on a partial basis, if at all, pursuant to very specific guidelines.

      25. As a result of the foregoing facts and circumstances, there has been direct physical loss
          of and/or damage to property at the premises covered under the Policy by, among other
          things, the property being damaged, access to the property being denied, customers
          being prevented from physically occupying the property, the property being physically
          uninhabitable by customers, the function of the property being nearly eliminated or
          destroyed, and/or a suspension of business operations occurring at the property.

      26. Since at least March 23, 2020, plaintiff has not been able to operate normally. Plaintiff
          has also sustained business income losses due to direct physical loss or physical damage
          at the premises of dependent properties.

      27. Plaintiff’s business has suffered a suspension of normal business operations as defined in
          the Policy in terms of a significant slowdown of business activities, sustained losses of
          business income, and incurred expenses. Plaintiff’s business also continues to incur
          normal operating expenses, such as rent and utilities.



6   Id.

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28. These losses and expenses have continued through the date of filing of this action and are
    expected to continue into the future.

29. These losses and expenses are not excluded from coverage under the Policy. And because
    the Policy is an all-risk policy and plaintiff has complied with its contractual obligations,
    plaintiff is entitled to payment for these losses and expenses.

30. Accordingly, on or around March 31, 2020, plaintiff filed a notice of claim and provided
    notice of its losses and expenses to defendant, consistent with the terms and procedures
    of the Policy. On March 31, 2020, defendant served a written denial of all plaintiff’s
    claims.

31. Defendant has performed an unreasonable investigation or no investigation at all.

32. Defendant has compelled plaintiff to initiate this litigation to recover sums under the
    policy to which plaintiff is clearly entitled.

                                       COUNT I
                                  BREACH OF CONTRACT

33. Plaintiff restates and realleges all prior paragraphs as if the same were set forth fully
    hereat.

34. The Policy is an insurance contract under which defendant was paid premiums in
    exchange for its promise to pay plaintiff’s losses for claims covered by the Policy.

35. Defendant breached the contract by failing to pay plaintiff’s losses under various portions
    of the Policy, including but not necessarily limited to, the portion of the Policy providing
    coverage for business interruption, lost business income, extra expense, extended
    business income, and losses stemming from the action of civil authority.

36. Plaintiff has complied with all applicable provisions of the Policy, including payment of
    premiums and notice of claim provisions.

37. As a direct and proximate result of defendant’s breach of the contract, plaintiff has
    suffered and continues to suffer damages, including but not limited to lost business
    income and extra expenses.




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        WHEREFORE, the plaintiff demands judgment against the defendant for the above-
described damages, plus attorney’s fees, interests, costs, and any other remedy this Court deems
just and fair.

                                     COUNT II
               BREACH OF THE COVENANT OF GOOD FAITH AND FAIR DEALING

   38. Plaintiff restates and realleges all prior paragraphs as if the same were set forth fully
       hereat.

   39. By the actions set forth above, defendant deprived plaintiff of receiving the benefits of
       their contract.

   40. The conduct of defendant constitutes a breach of the implied covenant of good faith and
       fair dealing. By way of example and not limitation: defendant represented to plaintiff
       that it would extend insurance coverage for certain losses in exchange for the payment
       of premiums, and then when those losses occurred defendant refused to supply coverage.

   41. As a direct and proximate result of the defendant’s breach of the implied covenant of
       good faith and fair dealing, plaintiff has suffered and continues to suffer damages,
       including but not limited to lost business income and extra expenses.

        WHEREFORE, the plaintiff demands judgment against the defendants for the above-
described damages, plus attorney’s fees, interests, costs, and any other remedy this Court deems
just and fair.

                                         COUNT III
                               VIOLATION OF M.G.L. c. 93A § 11

   42. The plaintiff repeats and incorporates herein the foregoing paragraphs as if each were set
       forth here in its entirety.

   43. M.G.L. c. 93A §2 provides that “[u]nfair methods of competition and unfair or deceptive
       acts or practices in the conduct of any trade or commerce are hereby declared unlawful.”
       Any violation by an insurer of the provisions of M.G.L. c. 176D are a per se violation of
       M.G.L. c. 93A.

   44. Defendant has engaged in unfair claims settlement practices in violation of M.G.L. c.
       176D, § 9 by, among other things, misrepresenting pertinent facts or insurance policy
       provisions relating to coverages at issue, refusing to pay claims without conducting
       a reasonable investigation based upon all available information, and failing to

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      effectuate prompt, fair and equitable settlements of claims in which liability has
      become reasonably clear.

   45. These acts and practices are unfair and deceptive in material respects, offend public
       policy, are immoral, unethical, oppressive and unscrupulous and violate M.G.L. 176D, §
       9 and M.G.L. c. 93A, § 2.

   46. As a direct and proximate result of defendant’s unfair and deceptive practices, plaintiff
       has suffered and continues to suffer damages.

        WHEREFORE, the plaintiff demands judgment against the defendant for the above-
described compensatory damages, multiple damages, punitive damages, attorney’s fees, plus
interests, costs, and all other remedies this Court deems just and fair.

                                   DEMAND FOR JURY TRIAL

      The plaintiff demands a jury trial on all claims herein.

                                             Respectfully submitted,
                                             Plaza Deli, Inc. d/b/a Plaza Catering and
                                             Discovery Cafe
                                             By its attorneys,

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